     Case 3:18-cv-00919-MMH-J_T                             Document 87-23                  Filed 10/06/20               Page 1 of 28 PageID
                                                                   1390
AO 88B (Rev 02/14) Subpoena to Produce Documents, Information. or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                            Middle District of Florida

                     RICHARD A. TRIOLO                                        )
                               Plaintiff                                      )
                                  V.                                          )       Civil Action No. 3:18-cv-919-J-34JBT
              UNITED STATES OF AMERICA                                        )
                                                                              )
                             Defendant                                        )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                Advanced Diagnostic Group, ATTN: RECORDS CUSTODIAN,
                     1465 Kingsley Avenue Suite 1404, Orange Park, FL 32073 [Via Facsimile (1-904-458-4802)]
                                                      (/1.'ame of p erson to whom this subpoena is directed)

    ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:                                    PLEASE SEE ATTACHMENT
          In lieu of appearance, records may be mailed to AUSA Ronnie S . Carter at the address listed below




r
1
        e: U.S. Attorney's Office
           300 North Hogan Street, Suite 700
           Jacksonville, FL 32202
                                                                                        Date and Time:



     O Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
                                                                                                            03/29/2019 0:00 am



other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.



I Place-:- - -- - - -- - - - - - --- - -- - - ~ -D-a-te_a_n_d_T
                                                              _i_m_e_:_ __ _ _ _ _ __ _ _                                                        ~
        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        03/11/2019

                                  CLERK OF COURT
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                                                                                                                 RO
                                           Signature of Clerk or Deputy Clerk                                        A //orney 's signature


The name, address, e-mail address, and telephone number of the attorney representing /name ofparty)                                       Defendant
    United States of America                                                                    , who issues or requests this subpoena, are:
United States Attorney's Office, 300 North Hogan Street, Suite 700, Jacksonville, FL 32202, (904) 301-6300

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


                                                                                                                                                      ADG_0001
Case 3:18-cv-00919-MMH-J_T        Document 87-23       Filed 10/06/20    Page 2 of 28 PageID
                                         1391


                                  Name: Richard Triolo
                             Social Security No.:      7157
                                Date of Birth:     1974

                                     ATTACHMENT

    1. Any and all x-rays, MRis, and CT scans, in digital format on CD, with all
       corresponding reports, taken of the patient by the witness or by any other healthcare
       providers that are in the possession of the witness. Please provide viewer software on
       the disc.

    2. A current bill for all services rendered by the witness pertaining to the diagnosis,
       treatment and care of the patient.

    3. A current statement indicating the total amount of the bill that has been paid and by
       whom.




                                                                                                ADG_0002
      Case 3:18-cv-00919-MMH-J_T                  Document 87-23          Filed 10/06/20       Page 3 of 28 PageID
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Patient Ledger
Patient Quick Report: TRIOLO , RICHARD


  TRIOLO , RICHARD                                                                              ADVANCED
  1933 ECLIPSE DR                                                                               D i agno s ti c
  MIDDLEBURG, FL 32067                                                                                  Group
  Phone: 6316034863
  Acct: 407365

  Date                Code       Description                                Provider              Amount     Running Bal

  04/04/2018         72100      XRAY LUMBAR 2 VIEWS                                                 95.79          95.79
    05/14/2018        INS       STATE FARM INSURANCE                                               -63.90          31.89
    08/14/2018        INS       BLUE CROSS BLUE SHIELD FLORIDA                                       0.00          31 .89
    05/14/2018        ADJ       Statutory Adjustment.                                              -15 .91         15.98
    08/14/2018        ADJ       The impact of prior payer(s) adjudication including payments         0.00          15.98
                                and/or adjustments. (Use only with Group Code OA)
                                                                                                                   15.98




05/08/19 9:09 AM                                                                                                       1/1


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   Case 3:18-cv-00919-MMH-J_T               Document 87-23           Filed 10/06/20         Page 4 of 28 PageID
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             '   .,,,.,....                                                 1465 Kingsley Ave., Suite 1404
       _..,,,,,. -....._
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                                                                            Orange Park, FL 32073
                                                                            Toll-Free Scheduling: (888) 234-5575

ADVANCED                                                                    High-Field MRI and X-Ray

DIAGNOSTIC GROUP

       Tampa • Brandon • Lakeland • Kissimmee • Or1ando • Jackson\nlle • Orange Par\<: • Palm Beach Gardens • Jupiter


PATIENT MR#: 407365
PATIENT ACCT#:
PATIENT NAME: TRIOLO, RICHARD
DATE OF BIRTH:       1974
REFERRING PHYSICIAN:
EXAM DATE:     4/4/2018
ACCESSION NUMBER: 677479
EXAM DESCRIPTION: X-RAY L SPINE


INDICATION:        Low back pain. Status post prior lumbar spine fusion March 22,
2018

TECHNIQUE: 3 views

COMPARISON: Lumbar spine MRI April 4, 2017 from Bay Meadows MRI, Jacksonville
Florida.

FINDINGS: Again noted is anterolisthesis ofL5 on SJ, 5 mm, grade 1. The
lumbar vertebral bodies are otherwise in satisfactory alignment. There has been
interval placement of posterior rod and screw fixation at L5-S 1. There has been
discectomy at L5-Sl. No definite appreciable hardware failure or loosening. No
loss of vertebral body height. No fracture or dislocation. There is no severe
degenerative change. No suspicious lytic or sclerotic lesions.

IMPRESSION:

I. No fracture, dislocation, or severe degenerative change.

3. Status post interval fusion L5-S 1.


David Priest, MD
Senior Member, American Society of Neuroradiology
Subspecialized Fellowship Trained, Board Certified Radiologist

Transcibed by:DA YID PRIEST, MD
Transcibed Date: 04/05/2018 13:34:04

                                                     Page 1 of 2



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  Case 3:18-cv-00919-MMH-J_T               Document 87-23          Filed 10/06/20        Page 5 of 28 PageID
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                                                                          1465 Kingsley Ave., Suite 1404
                                                                          Orange Park. FL 32073
                                                                          Toll-Free Scheduling (888) 234-5575

ADVANCED                                                                  High-Field MRI and X-Ray

DIAGNOSTIC GROUP

      Tampa • Brandon • Lakeland • Kiss immee • Orlando • Jacksonville • Orange Park • Palm Beach Gardens • Jupiter


Electronically Signed by: FLORA STEPANSKY
Date Signed: 04/05/2018 13:34:04




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            Case 3:18-cv-00919-MMH-J_T                                                                           Document 87-23                                  Filed 10/06/20                              Page 6 of 28 PageID
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                                                                                                                                              JACKSONVILLE FL 32231                                                                                                    ii:
HEALTH [INSURANCE CLAIM FORM                                                                                                                                                                                                                                           cc


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APPROVED BY kATIONAL UNIFORM CLAIM COMMITTEE (NUOC) 02/12                                                                                                                                                                                                              ()

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 32067 ;                                             I (631) 603 4863
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NUCC ln~tructlon Manual available at: www.nucc.org                                                                     PLEASE PRINT OR TYPE                            CR061657                 APPROVED OMB-0938-1197 FORM 1500 (02-12)
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Case 3:18-cv-00919-MMH-J_T                                     Document 87-23                        Filed 10/06/20         Page 7 of 28 PageID
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A State Farm·                                                 EXPLANATION OF REVIEW
                                                                           This ls not a bill

                 Claim Number: 69-08394M7               Data of Loss: 02-11-2017                   Office Name: State Farm Mutual Automoblle Insurance
                                                                                                                Company
                                                                                                                PIPMPC A1 Office -WIN



                 Patient: Richard Trlolo                                                Provider: Lem Imaging Inc
                          c/o Kinney & Sasso, PA.                                                 PO BOX 677642
                          9191 R G SKINNER P'rWN UNIT 703                                         DALLAS, TX 75267
                          JACKSONVILLE, FL 32268-9662




                     Claim Handler: Colleen Smith                                                   Named Insured: TRIOLO, RICHARD
                           Address: PO Box 106134                                                   Policy Number: C708-937-59A
                                    AUanta, GA 30348-6134
                            Phone: (844)292-8615       Ext: 8633182817

                     Date Received: 04-23-2018                                                                TIN:      1669
             L
           Jurisdiction: Florida                                                                Payment Number: 119643585.J
BIii reference Number: 407366                                                                      Zip of Service: 32073-4504

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             I Diagnosis Codes: M48.061 - Spinal stenosls, lumbar region wltho1.1t neurogenlc claudlcation
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1 , 04-04-2018 • 04-04·2018                      11       721 DO                                        1.00      $95.79         $79.aa sa,
        11
                     Total Submitted Charges:                             $95.79
                      Total Approved Amount:                              $79.88
                         Amount Not Payable:                              $16.98
                                   Deductible:                             $0.00
                                           CoPay:                          $0.00
                     Apportionment I Pro Rafa:                             $0.00
                                           Offset:                         $0.00
                                  Paid Amount:                            $63.90

Explanations
681 - Our payment for this service has been based upon the applicable pollcy language and ls no more than the amount provided for by
th~ schedure of maximum charges contained In Ute Florida No-Fault Act, including the use of Medicare coding policies and payment
m~tl1odologles or the federal Centers ror Medicare and Medicaid Sel\lices, including applicable modifiers, The payment for this sel\llce
Is based upon 200% of the 2007 Um!Ung Charge of Medicare physician fee schedule for the locale In which the services were rendered •
   .,
Prpcedure Gulde
1a100 - Radiologic examination, spine, lumbosacral; 2 or 3 views
P~rsuant to Florida Statute, should you have any lnfonnaUon to subslanUate payment of en additional amount
for the services rendered, please forward for our conslderatlon within 15 days.
    I

Ary person who knowingly and with Intent to Injure, defraud, or deceive any Insurance company, files a statement of claim
c9ntalning false, Incomplete, or misleading Information !s guitly of a felony of the third degree. F.S. 817.234(1Xb).

l~YormaUon on administering benefits under the 9810A pol!cy form: Effective for alt claims with a reported date of loss 10/01/2017 or
DATE: 05-04-2018                                                                 59-0839-4M7                                                  Professional




                                                                                                                                                       ADG_0022
Case 3:18-cv-00919-MMH-J_T                                  Document 87-23         Filed 10/06/20              Page 8 of 28 PageID
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 Case 3:18-cv-00919-MMH-J_T                Document 87-23           Filed 10/06/20         Page 9 of 28 PageID
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                                                                 1465 King.!ley Avenue, Suite 104
                                                                 Orange Park, FL 32073
                                                                 Phone: (904) 458-0141
                                                                 Fax: (904) 458-4802

ADVANCED                                                         High Field MRI & X-Ray
DIAGNOSTIC GROUP

      Tampa • Brandon • Lakeland • Kissimmee • Orlando • JacksomAlle • Orange Park • Palm Beach Gardens • Jupiter


PATIENT NAME: RICHARD lRIOLO
PATIENT ID:   407365                           REFERRING PHYSICIAN: RAYMOND TOPP MD,
DOB:                1974                       REFERRING PHONE:
DOS:          04/04/2018                       REFERRING FAX:

EXAMINATION:     X-RAY L SPINE




INDICATION:     Low back pain. Status post prior lumbar spine fusion March 22, 2018

TECHNIQUE: 3 views

COMPARISON: Lumbar spine MRI April 4, 2017 from Bay Meadows MRI, Jacksonville Florida.

FINDINGS: Again noted is anterolisthesis of LS on S1, 5 mm, grade 1. The lumbar vertebral bodies are
othelwise in satisfactory alignment. There has been interval placement of posterior rod and screw fixation at
L5-S1. There has been discectomy at L5-S1 . No definite appreciable hardware failure or loosening. No
loss of vertebral body height. No fracture or dislocation. There is no severe degenerative change. No
suspicious lytic or sclerotic lesions.

IMPRESSION:

1. No fracture, dislocation, or severe degenerative change.

3. Status post interval fusion L5-S1.


David Priest, MD
Senior Member, American Society of Neuroradiology
Subspecialized Fellowship Trained, Board Certified Radiologist



DAVID PRIEST, MD
Electronically signed on: 4/5/20181 34.04 PM
T~nscribed by DP on.· 4/5/2018 1 32· 17 PM




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Case 3:18-cv-00919-MMH-J_T                Document 87-23           Filed 10/06/20          Page 10 of 28 PageID
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                                                                 I 465 Kingsley Avenue, Suite 104
                                                                 Orange Park, A.,32073
                                                                 Phone; (904) 458-0141
                                                                 Fax: (904) 458-4802

ADVANCED                                                         High Fie Id MRI & X-Ray
DIAGNOSTIC GROUP

     Tampa • Brandon • Lakeland • Kissimmee • Orlando • Jacksom.ille • Orange Park • Palm Beach Gardens • Jupiter


PATIENT NAME: RICHARD lRIOLO
PATIENT 10:   407365                        REFERRING PHYSICIAN: RAYMOND TOPP MD,
DOB:                1974                    REFERRING PHONE:
DOS:          04/04/2018                    REFERRING FAX:

EXAMINATION:    X-RAY L SPINE




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Case 3:18-cv-00919-MMH-J_T                       Document 87-23               Filed 10/06/20        Page 11 of 28 PageID
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UPRIGHT OPEN MRI
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Case 3:18-cv-00919-MMH-J_T                  Document 87-23          Filed 10/06/20         Page 12 of 28 PageID
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       ~~J~
      --..;m,,..-                                                 1465 Kini:sley Alenue, Suite 104
                                                                  Orange Park, FL 32073
                                                                  Phone: (904) 458-0141
      _.,:J       . ---
                                                                  Fax: (904) 458-4802

ADVANCED                                                          High Field MRI & X-Ray
DIAGNOSTIC GROUP

      Tampa • Brandon • Lakeland • Kissimmee • Orlando • Jacksonv,lle • Orange Park • Palm Beach Gardens • Jupiter


PATIENT NAME: RJCHA.RD 1RIOLO
PATIENT ID:   407365                             REFERRING PHYSICIAN: RAYMOND TOPP MD,
DOB:                1974                         REFERRING PHONE:
DOS:          04/04/2018                         REFERRING FAX:

EXAMINATION:     X-RAY L SPINE




INDICATION:     Low bacl< pain. Status post prior lumbar spine fusion March 22, 2018

TECHNIQUE: 3 views

COMPARISON: Lumbar spine MRI April 4, 2017 from Bay Meadows MRI, Jacksonville Florida.

FINDINGS: Again noted is anterolisthesis of LS on S 1, 5 mm, grade 1. The lumbar vertebral bodies are
otherwise in satisfactory alignment. There has been interval placement of posterior rod and screw fixation at
L5-S1. There has been tjiscectomy at L5-S1. No definite appreciable hardware failure or loosening. No
loss of vertebral body hei~ht No fracture or dislocation. There is no severe degenerative change. No
suspicious Jytic or sclerotic lesions.
                              I
                              I

IMPRESSION:

1. No fracture, dislocation, or severe degenerative change.

3. Status post interval fusion L5-S 1.


David Priest, MD
Senior Member, American Society of Neuroradiology
Subspecialized Fellowship Trained, Board Certified Radiologist


DAVID PRIEST, MD

Transcribed by DP   'f'!
Electronically signed on- 4/5/2018 1 34 04 PM


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                           415/2018 1-32 17 PM



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      ~~bo....
                                                                 1465 Kingsley Avenue, Suite 104
                                                                 Orange Park, FL3l073
                                                                 Phone: (904) 458-0141
                                                                 Fax: (904) 458-4802

ADVANCED                                                         High Field MRI & X-Ray
DIAGNOSTIC GROUP

     Tampa • Brandon • Lakeland • Kissimmee • Orlando • Jacksonville • Orange Park • Palm Beach Gardens • Jupiter


PATIENT NAME: RfCti,6.RO.lRIOLO
PATIENT ID:   407365                       REFERRING PHYSICIAN: RAYMOND TOPP MD,
DOB:                 1974                  REFERRING PHONE:
DOS:          04/04/2018                   REFERRING FAX:

EXAMINATION:    X-RAY L SPINE




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                                                                                                                    ADG_0035
              Case 3:18-cv-00919-MMH-J_T             Document 87-23   Filed 10/06/20   Page 14 of 28 PageID
                                                             1403

            Patient Ledger                                                             Advanced Diagnostic Group
            TRIOLO, RICHARD
                                                                                       Corporate Office.
                                                                                       607 W. MLK Blvd., Suite 103
                                                                                       Tampa, FL 33603
             TRIOLO, RICHARD
             1933 ECLIPSE DR
             MIDDLEBURG, FL 32067
             Phone: 6316034863
             Acct: 407365

             Date              Code    Description                     Provider             Amount    Running Bal

             04/04/2018        72100   XRAY LUMBAR 2 VIEWS                                    95.79          95.79
                                                                                                             95.79




........   -- -




            05/15/18 9:58 AM                                                                                     1/1



                                                                                                               ADG_0040
      Case 3:18-cv-00919-MMH-J_T                               Document 87-23                   Filed 10/06/20             Page 15 of 28 PageID
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                                                   ADVANCED
                                                   DIAGNOSTIC GROUP
                                                               MRI SCREENING QUESTIONNAIRE

Patient Name:      ti~urcrd \\-'1bl1>                                                             Date: _ ___            ~ \JA~'-~
Patient Account # _ _ _    H. . . .D_n_~
                                   . __u_h
                                         ____                                                                           ~~~
                                                                                                  Screening by:___~~...,..-=c=--;....;;;:.....-

Do you have a pacemaker, defibrillator, aneurysm clips or pain pump? _ _....         @)_~-------------
Have you ever had an MRl?_ _         __.\""'v'"'J\~£6..----                                       Where? _ _ _ _ _ _ _ _ _ _ __


What body part and if same uh2;v!.Si...a~~!.L!i!:i_;l.!6..l!.~~or get all the information to obtain priors for the
patient_ _ _ _ _ _ _ _--'-..:.....:~-~~.:....-------

Claustrophobic        yes __ noV ••offer an open unit if available

Valium needed         yes _ _ no__           (Must have driver or offer transportation If someone can came with them)

Do you do welding or metal grinding?                    yes__no , , / '

Do you have any metal/implants In your body?            yesV no__



Heart stents          yes __no __ Obtain information & c o n t a c t " - - - - - - - - - - - - - - - - -- -

.. If yes, patient must bring card atos or have report what kind of ste11t was placed and when.

Any previous surgeries?       W:i"'v~~6•dl ·3 .1_2:o,~
Any history of Cancer?_ _ _ _ __ _ _ _                  ~......__0
                                                               _____
 Blood Work needed: (contrast patients 60 yrs & older)            yes__no__             Approximate weight:          Vct'.1
 Please do not wear any hair pins/ bobby pins, jewelry or clothing with metal (such as zippers, underwire or meta l buttons).

 PLEASE BRING YOUR DRIVERS LICENSE/ PICTURE ID, INSURANCE CARO ANO RX TO YOUR APPOINTMENT

 Possibility of Pregnancy?tJD            Any physical limitations: Wheelchair, Walker, Cane, etc.  l;sc)
 Auto Insurance? 6\;:)t:e.:, vay\ Claim Number:~tfl At:'(1                 Are you using health insurance as a secondary:' @ NO

 .DOA:   z\ \\\lV                    State of Accident:..n:._                 Attorney Information:           .P\~l lr,p · ~
 Health Insurance lnfarmatron:_~~~-(&$-'-""--                 -----------------------




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               www.Adva11cedDiag11osticGroup.com ,. Scheduling Toll-Free: (888) ADG - 55 75


                                                                                                                                                  ADG_0044
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                                     1405



                     CONTRAST QUESTIONS

            **If patients are 60 years of age or older,
  Please ask if they have had lab work within the last 45 days***



  • Patients who have had on organ transplant      ND
  • Patients who hove lupus or multiple myeloma     \:'JU
  • Patients who hove one kidney or renal failure/disease      NO
  • Patients who ore on dialysis      lN 0
   • Patients who have a history of diabetes    rJO
   • Patients who have a history of hypertension rJ"V
   • Patients who      liver disease    ~t)




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                             Case 3:18-cv-00919-MMH-J_T                                      Document 87-23            Filed 10/06/20                 Page 17 of 28 PageID
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                                                                                                     Dr. Raymond Topp, M.D.
    ·;~/,· .... .                                                                                       3316 South Third Street
'
                                                                                                   Jack~o1frillc Beach, Fbrid;i 3H50
     :· "'.;;;:.:
           '~~ ·'                                            TOPP SPINE & ORTHOPAEDIG


                                                               : ... -. Ph_one(~04-:719:/7. 404            ·•   F.ax: 904'-71 ~kt4QS-.

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Case 3:18-cv-00919-MMH-J_T                     Document 87-23        Filed 10/06/20      Page 18 of 28 PageID
                                                       1407




     ADVANCED
     Diagnostic
              Group

     Patient: RICHARD TRIOLO                i Account: 407365             I Insurance: STATE FARM INSURAIJCE
    Age:43        I DOS: 04/04/18           I ooa:            1974        I Sex : Male
    Accession:      . Study:                                                Time:
     677479 XRAY LUMBAR 2 VIEWS (72100}                                                   2:30 PM




                    '

    TECH TO COMPLETE BELOW:

    Tech Notes: _         __.N\.__~-~-=---·\>...ai<.--.l\£~J,____ _ _ _ _ _ __
                                                          \




    Referring Doctors:
     NAME                                            PHONE No.                        FAX No.
                                                     (912)265-9006                    (91 2)265-7200
     RAYMOND TOPP MD


    Preferences: '




    Previous Studies:




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    IIRE41Sl838


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  Case 3:18-cv-00919-MMH-J_T                            Document 87-23                  Filed 10/06/20           Page 19 of 28 PageID
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    Case 3:18-cv-00919-MMH-J_T                             Document 87-23                    Filed 10/06/20             Page 20 of 28 PageID
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 ADVANCED
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 DIAGNOSTIC GROUP                                                                        Chart Number: _ _ _ __
                                                                              Today's Appointment D a t e : - - - - -



                                   New Patient Information and MRI/ X-RAY Screening Form

Last Name: _T.;.;.R.;.;.IO=LO;;...._ _ _ _ _ _ _ __                     First Name: _R..;.l~C.H.;..;A;..;.RD;;...._ _ _ _ __       M.I.:

Sex: Male/ Female            Date of Birth: __;.         ..;19;..;.7..;.4_ _ _ _ __        Age:£_              SSN                          - 7J 5 /
Patients Home Address:         I    Iq.r'?;J             /, (){ n
                                                            '
                                                                  l..   j)     t\i..

City:   yY),Jd/aJrJ'         State:     fl-            2Pt...f
                                                           Zip:     Phone:...,(_63_1.._)6_0_3-_4_86_3_ _ _ _ _ _ __

Marital Status:    S1
                        7 l-.          Employer: Ba,ibff t'Mrtc/ f!t,,k,,r:o..r{L Occupation:             /2.(LT
Emergency Contact:         14ru h.,; If/,~(                Relationship:         &,,,//'r,l-4                  Phone: . ,ft O'-(     z~t-'I.Wf)
Referring Physician: RAYMOND TOPP MD                                             Clinic N a m e : - - - - - - - - - - - - - -

Date of Injury: l- / 11 / I (,.,       Cause of Injury: Auto Related              V        Work Related_                 Other------

Why are you being scanned?             Y- f 1J -(} "OfC ~(J(J-'-7
Yes / No     Any surgery in the area being scanned? Type & Date _J_·_,/""",::;...a.k+f...11        f:~-------------
Yes / No . Any trauma or injury in the area we are scanning today? - - - - - - - --                                      --------

Yes/ No      Do you have any personal history of cancer? If yes, please indicate the type of cancer: - - - - - - - -

Yes/ No      Do you have any personal history of Diabetes?




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                                                                                                                                                   ADG_0049
     Case 3:18-cv-00919-MMH-J_T                                     Document 87-23         Filed 10/06/20          Page 21 of 28 PageID
                                                                            1410
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II~41Sl847

                                               ADVANCED DIAGNOSTIC GROUP
                                                                         888-234-5575


                                                                     X-RAY TECH SHEET

                            0   MLK- L,UI I 022                              D KISSIMMEE                         c:::J...MCKSONVILLE
                            0   WATERS - UDI 1023                            DORLANDO                         •...e:J ORANGE PARK
                            0   nRANOON - UDI 1025                           D SEMORAN                            D PALMBEACH


    Date of Exam: 04/04/2018                     Ex am Ordered: e11,19 xRAv LuMBA~ 2 views m1001     Chart # : 407365          Site#: ~
    Patient Name: RICHARD TRIOLO                                                                     Sex: Male         DOB :           1974
    Ordering Physician: RAYMOND TOPP MD                                                              Phone# (912)265-9006

    Accident Related: -Yes~~o
    Date of Accident:        ---41.4'_,.,..._[-=--{---!¥--+--1---
                                   ..
    Company Physical: _ _ Yes --No



    Diagnosis: -        - - -- - - -- -- - - - r r - -- -- - - - - - - -- - - - -- --
    Patient History:       -~-/P________,l""'"""",,5_--'&1-~~i--=-..Lon--+---S,-+--~1---"""-'l_---"'- {~,.____
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         /                                                              PRIOR STUDIES:          ~       \._. -~~ (     yUl      4 _(.,, -,
    ¥-. Pre,•ious study and report being sent via Telerad for com1>arison: _ _ _ Date of 1>rior study
    _ _ Previous studies being sent via mail for comparison                       _     _ No prior studies available
    _   _ Only previous report for comparison/no films arc available



    Exam:        '}.  '9-
    Notes:




    Total # of Images: _....,~.,-----,-"-:"----                       ----,--.,-----'1r---- - -- - - - - - - - - --                       --
    Technol ogi st: -----\---+--.f-.Pr.'~L...:>-..AJJc+-1-..L»~---¥--\-\-




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     Case 3:18-cv-00919-MMH-J_T                            Document 87-23                   Filed 10/06/20               Page 22 of 28 PageID
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    ADVANCED
            ~\J//
          -- ---
    DIAGNOSTIC GROUP
                                                                                IIRE4153840
                                                                                   I I 111111111111111111111111111111111

                                                                                                Chart Number: _ _ __
                                                                              Today's Appointment D a t e : - - - - -

Patient Name:        RICHARD TRIOLO                                             Height: _ __                   Weight: _ __

                                           PLEASE INDICATE IF YOU HAVE ANY OF THE FOLLOWING:

Cardiac Pacemaker                                        Yes_ _                                      No~
Aneurysm Clips                                           Yes_ _                                      No .~
Implanted Defibrillator                                  Yes_ _
                                                                                                    No~
Implanted Insulin Pump                                   Yes _ _                                    No_~
Electronic or Mechanical Implant                         Yes_ _                                     No ..-,-
Hearing Aid               1                              Yes_ _                                     No-_.--
Heart Valve Prosthesis                                   Yes_ _                                     No-~
Shrapnel, Bullets, or B.B.'s
Any type of Ear Implants
                                                         Yes_ _
                                                         Yes_ _
                                                                                                     No
                                                                                                     No
                                                                                                            ?-
Orbital / Eye Prosthesis
Any type of Implant held in place by a Magnet
                                                         Yes_ _
                                                         Yes __
                                                                                                     No
                                                                                                     No
                                                                                                            r;::;-
Any type of Surgical Clip or Staple                      Yes_ _
                                                                                                    No~
Vascular Access Port                                     Yes_ _                                     No v /
lntraventricular Shunt I Stent                           Yes_ _                                     No~
Artificial Limb or Joint                                 Yes_ _                                     No~/
Dentures
Diaphragm or I.U.D.
Wire Mesh
                                                         Yes_ _
                                                         Yes
                                                         Yes~
                                                                                                    N~=P
                                                                                                     N

                                                                                                    No_ _
                                                                                                             i/"'


Any Implanted Orthopedic Item (Pins, Rods, Screws, Etc.) Yes_....,...-_                             No
Any other Implanted Item                                 Yes_ _                                     No~
Tattooed Eyeliner                                        Yes~                                       No____,..........
History of Metal In Eyes (Welding, Grinding Exposure)    Yes_ _                                     No__V'_

Have you had any prior Imaging studies related to your current problem?
                                 r

0            X-rays               Date-------                                   Where - - - - - - -
0            Ultrasound              Date - - --        ---                     Where - - - - - - -
0            Cat Scan                Date - - - - - - -                         Where _ _ _ __,__ _
0            MRI scan                Date--AJ'+/.....
                                              I
                                                f)..___ __                      Where     13A1M c,i:6~ ~ r1.,.r...
Ust any previous surgeries with dates:

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PLEASE READ PRIOR TO SIGNING: You must remove all metallic objects including: easily removable jewelry, bra, shoes, belts, hair pins, safety




                                                                                                          b"="~~·:g\
pins, paperclips, money clips, coins, pens, watch, etc. If you have any body piercing, other than ears, please let the technologist know. Your



                 P/l~o,
signature on this form indicates that yo

eati,e ,ontent, of
                                              uthorize and consent to performance of this procedure, and you have read and understand the

                                      th• o, ,ttest: ; : , ~ ; • on thi~m is m,e" to the                                                       Y~ ~ /i
PatientS,gnat"' o, Rep,.,enta i e (if mino,)               o,,.                Tee~~                                    ~'C                IDate
                Corporate Office: 607 W. Martin Luther King Jr. Blvd. • Suite 103 • Tampa, FL 33603 • Tel : (813) 514-2700 • Fax: (613) 849-6349

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                                                                                                                                                   ADG_0051
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                                                                  1412
03/28/2018 8 3BAM              FAX                                      1 ,.   "-                                                     ~0001/0003

                                                                                               You are scheduled..at
                                                                            0 4933 UnlVerslty Blvd W.             C'l 2388 Dunn Ave., Sute 101
                                                                              Jaci<sonvale, FL 32216                JacksonviUe, FL 32218
                                                                              Tel. 004-733-7800                     fol 904-421 -3827
                                                                              Fax !!04-419-4888
                                                                          ~°*Upright Open MRI
                                                                          vcr,1465 Kingsley Ave, Sl1ta 1404
                                                                                                                     *
                                                                                                                    Fax: 904-240-0633
                                                                                                                       High-Reid MRI

                                                                              Oange i'Rtl<. FL 32073
                                                                               TAI 904-458-014 1
                                                                               Fax: 904-458-4802
                                                                               -ti High-Freid MRI




                                                        GENERAL RADIOLOGY
i1 I !rain    ! 0 w/ s-M                             C1 ~n                                                    0 TMJ              Ol         OR
CJ LA.G's                                            0 Facial                                                 O Clavicle         DL         OR
D Pituitary                                          0 Orbits                                                 CJ Sh<,Jder        (J l       OR
C] Ortiits
                  1
                                                     CJ SintJ$                                                a Humerus          C] L       OR
D C-Spoo · n T Spim                O L-Sp1ne         D Nasal                                                  D Bbow             Ol         OR
                  I
0 Soft 11SSL..t3 Neck                                O Soft Tissue Neck                                       CJ Forearm         DL         OH
r:l Bractllal Plexus                                 0 Chest (CXA)                                            Cl Wrist           OL         OR
0 Chest                                              Cl Abdonmal Series                                       CJ I land          nL         r:,n
0 Al:x:Jomen:                                        D Kl.E                                                   D Anger            (J L       OH
1:1 ~lviit     i                                     o R>hn'i                                                 n Rh's             n1         nR
D Shoulder1          Cl I      OR                    n SI.Joints                                              Cl Hip             OL         an
D Ebow        i       nL       on                    0 Saon..m I O:x,ofx                                      0 FemLX            OL         nH
D Wrt9t       I       nL       CR                    0 C-Splrie                                               CJ Knee            DL         CJR
0 Htstd               OL       OR                    0 T-Spine                                                a Tihia            OL         OR
n 111p
C1 Knee
              I       OL
                      Cl L
                               OR
                                OR
                                                        LSr,r,c
                                                     Cl Bone Aga
                                                                         (/IP~~ !AJ{Y'J,,/V
                                                                                    ~    )(Yv\V)S
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                                                                                                                                 OL
                                                                                                                                          CJR
                                                                                                                                          on
a Mkle
0 Foot
              II      OL
                      OL
                               nR
                               OR
                                                     0 Othe<                                                  a Foot
                                                                                                              CJ C'..alca'leUS
                                                                                                                                 nL
                                                                                                                                 DL
                                                                                                                                          OR
                                                                                                                                          fJ R
0 Other                                                                                                       CJ Toes            DL         DR
   -- !--------
   CON~
o With n ~trout a With & Without                     CJ Artlfn (CONJ w/o Contrast
                                                     n Otror _ _ _ _ __
                                                                                                          O C'..arot!d w/o Contrast
              I
              I

UPRIGHT OPEN MRI                                                                                       Mditiooal Notes:

                         Upright MRI Protocol        :J Brain
                                                     c:J C'...erv!calD Seated n Stmldi~
                         \Nith Flel<b'l/Ex1enslon?
                         0~           Cl No
                                                     a I r.omclc     D Seated IJ standiro
                                                     a Lumbar            Seatedo         a
                                                                                   StBncinQ
                         Wrth PJ.x Protocx'll?       0 Shoulder      [') L      OA
                         OYes         Cl No          nHp             OL         []A
                         Wlth Contrast?              n Knee          i.l L      CJ H
                        DYes          O No
                                                     n Othe!'Aegion: _ _ _ _ _ __
              I
       TAM~ • BRANDON - LAKELAND • KISSIMMEE • ORLANDO • JACKSONVILLE· ORANGE PARK• PALM BEACH GAR0£NS, JVPrTER
              :                                          -.AdvancedDmgno:,ticOrol!J>.CQl1l




                                                                                                                                                   ADG_0052
  Case 3:18-cv-00919-MMH-J_T                         Document 87-23                   Filed 10/06/20       Page 24 of 28 PageID
                                                             1413
03/29/2018 ·a 3SAM             FAX                                                                                           ~0001 /0003

                                                                                        You are scheduled a1:.
                                                                    D 4933 University Blvd W.          n 2386 Dunn Ave., Suite 101
                                                                      Jacksonv!Ds, FL 32:216             JackSOnviae, FL 32218
                                                                      Tel 904-733-7800                   To!. 904-421 ·3827
                                                                       F3X 004-419-4888                  Fax: 904-240-0633
                                                                       *
                                                                 rY,,. UpriQht Open MRI                  ~ High-Reid MRI
                                                                 VJ\1465 Kingsley Ave, $(jte 1404
                                                                     Orange f'lark. FL 32073
                                                                       Tet 904-458-0141
                                                                       Fax: 904-458-4802
                                                                       -ti High-Field MRI
                                                                                  _   rme: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                      DOB:             t..\
                                                   ~ - - - - - - - - Injury Date;
                                                                              _
                                                                                                  µi.\t q:> -
                                                                                      Group I: _ _ _ _ _ _ _ _ _ _ _ __




                                                     GENERAL RADIOLOGY
n 11ran      ! 0 w/SM                             (1 SkUf1                                          0 1MJ               OL       OR
CJ V>.G's                                         0 Fac1Bl                                          0 Clavide           OL       OR
0 PitlJltacy I .                                  O Ortits                                          C] f';hc,uldw       CJ L     OR
O Orbits
           I
             I                                    D Sin.is                                          D Hurneru:;         OL       C] R
0 C-Splne I      n
                 T Spine          a L-Spine       0 Nasal                                           0 Bbow              CJ L     OR
o son Trssui'! Neck                               a Soft Tissue NecK                                D Fcrwm             CJ L     (J H
C] Brachia! Plexus                                0 C~(CXR)                                         CJ Wrist            C] L     (] R
0 Crest 'I
             I
                                                  0 .Abdomral Series                                0 !land             nL       on
0 Al::ldoolen!                                    0 KUB                                             0 Anger             DL       OH
o ~M)(       I                                    a A:>b'!l                                        n Am                 n1       nR
D Shoulder i
             1
                      a1        OR                n SI Jotr.ts                                     n flip               CJ L     on
0 Ero.v i             n L       on                D sacru,, / Coccyx                               O Fermx              CJ L     nH
a Wrist r ·           nL       OR                 CJ C-Splne                                       (J Knee              OL       OR
0 HOid                0 L      OR                 0 T-Spk1a                                        a liha               DL       CJ A
n Hip
Cl Knee
             I        (JL
                      C] L
                               OR
                               OR
                                                    LSpr1c
                                                  a BoreAQa
                                                                M> ~~ (;~C,V'"
                                                                           {\t.) )(~c;
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                                                                                                                        CJ L
                                                                                                                        C] L
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                                                                                                                                 0!1
0 AnklA
             I        (J L     nR                 O Other                                          [J Foot              i.J L    OR
(J Foot      I
             I
                      (J L      nR                                                                 0 C'..alcaneus       DL       OR
O Ottier                                                                                           0 Toes               CJ L     OR


   CONT~
a With n           ,11,out 0 With & Without       0 Ardin (C',0,N; w/o Contrast                    0 C"'..erotld W/o Contrast
             I                                    n Other _ _ _ _ __

UPRIGHT OPEN MRI                                                                                Mditional Notes:
                         Upright MRI Protocol     O 8'ain
                         With AexlarVExtension?
                                                  D Cer"1cal         a Seated n Strvldi/'\Q
                         OYe.s       ONo
                                                  Cl lhomcic         a Seated a standing
                                                  CJ LUT1bar         a Sealed a Standing
                         With Alor ProtoC()l?     0 Shoulder       0 I.  CJ R
                         0 Yes       Cl No        n Hp             DL    t:IR
                         With Contrast?           n Knee           IJ L  c::, ~
                         OYes        ONo          r1 Other Region: _ _ __ _ _~

      l'AMPA • BRANDON • LAKELAND • KISSIMMEE • ORLANDO • JACKSONVIUE • ORANGE PAAK • PALM BEACH GARDENS• JUPITER
           r                                  -.AdllaftcadDlagnosticQroup.oom



                                                                                                                                        ADG_0053
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                                                                 1414
                                                                     I   ,,                                                           ~0003/0003
03/29/2018 8 3SAM
3129/2018                         Encounter - Office V1s1t Dal& of service. 03/28J18 P8tient RJcherd Triolo DOB       1974 PRN· TRB46077

  No environmental allergJes recorded



  Actrve Jec:11catlons
  MEDICATl~N                                          SIG                                    START/STOP                ASSOCIATED DX

  Dlclofenac.' Sodium 75 MG Oral Tablet
  Delayed 1elease

  Hydrocod:one-Acetamlnophen (Norco) 10-
  325 MG dral Tablet
     !
-----=-·-----------------·---·. .. ~ ~-
  T1ZANldinf HCJ 4 MG Oral Capsule



  Histor141 Medications
  MEDICATl~N                                          SIG                                    START/STOP                ASSOCIATED OX

  No histor(cal medications recorded
                               ----------,....,.~----

  MAJOR EVENTS

  No prior 1µmbar injuries or treatment before accident, ESls were performed after accident at St. Vinct'nt's with no relief (won;ened
  symtpoms). Pain is while lciylng flat, c:onstant and mldUne. Pain radlaces poscerlorly down thigh and sometimes anteriorly to hip
  flexor. Pa!n began a~er MVA where patient was rear ended in l=ebru;iry 2017
             i.


  Patient re~ums today on POC#6 of PLIF LS-51. Patient Is having usual post operative pain and ls Improving.
- ONGOINGIMEDICALPROBLEMS                ···-·-···--                          -

  l'IO prior ~ical conditions. surgical history: PLIF LS·Sl Dr. Topp 3/22/18
             I




  Assess"'lent
  Lumbar- lhcision healing w11II. No erythema. edema. warmth, or drainage noted.
                                                               ·--------------------· ..•. ----------
  Plan
  Patient p1~sents for a post•op visit after undergoing a PUF LS·S1 on 3/22/18. Continue dally actiVitie~. limit lifting and twisting.
  Continue f'aln medlc.11tlon5 as prescribed. We will follow up with the patient in 4 weeks. Prescription for pain medications and
  lumbar x ray given today. Patient cidvised to call with any concerns.
             !                                                   .       - - - - - - - - - - - - - - -- ··--

             !                                                                                                               W practice fusion




             l
https://stauc. practlCilfvlilQn..ocm/epps/ehr/index.litm!?#IPF/Cher11s/patients/b88<t89a5-ad01-435a-bab4-a9a82cf954eSlencounler/55327c 13-a 13f.452c-9bdd-7!Gfbe



                                                                                                                                                     ADG_0054
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                                                                         1415
03/29/2018 8 3SAM              FAX                                  ; ' ' ..                                                            ~0002/0003
3/29)2018                              F.nco1.1nter - Office Vlsil Date of service; 03128/18 Patient Rich11ni Triolo DOB:   1974 PRN: TR846077


PATIENT                                                     FACJLITY                                                 ENCOUNTER
Richard Triolo                                              Topp Spine and Orthopaedics                              NOTE TYPE        SOAP Note
DOB                    1974                                 T (904)719-7404                                          SEEN BY          Raymond Topp
AGE          .43 yrs                                        F (912) 342-8536                                         DATE             03/28!Z018
SEX          ;Male                                          3316 3rd Street South                                    AGE AT DOS       43yrs
PRN          :rR846077                                      Suite 201                                                Not signed
                                                            Jac:ksonvllle Beac:h. FL 32250
                                                            -----··· · ~·---·-··---·---···-··- -----··- ---------~-~
-·;atlent (dentifying details and demographics
  FIRST NAME                  Richard                       SEX                        Male                        ETHNICITY           Provider did not
  MIDDLE NAME
          I .
                                                            DATE OF BIRTH                      1974                                    ask
  LASTNMj1E                   Triolo                        DATE OF DEATH                                          PREF. LANGUAGE
  SSN     :                                                 PRN                        TR846077                    RACE                Provider did not
                                                                                                                                       ask
                                                                                                                   STATUS              Active patient

  CONTACT INFORMATION
------'----··--·-·
 ADDRESsiuNE 1
                      - ----------·
               1933 Edlpse Drive
                                         - · --
                                 CONTACT BY                                            Mobile Phone
  ADDRESS!uNE 2                                             EMAIL                      1Jstror,g19@yahoo
  CITY                        Middleburg                                               com
  STATE    i .                FL                            HOME PHONE
  z1P cooe1                   32068                         MOBILE PHONE               (631) 603°4863
                                                            OFFICE PHON£
                                                            OFFICE EXT~NSION
----.:.--------------
 FAMILY IN~ORMATION
                      - - ----.----····-·--··--·-··
  NeXTOF~IN                                                                            PATIENT'S MOHiER'S MAIDEN
  RELATIO~ TO PATIENT                                                                  NAME
  PHONE i


                 ______________________________________ __
  ADDRESSj
             ! .                                                                                          ·----··-~-·-··
_.....,_....,.!
  Current ptagnoses                                                                    ACUITY                      START               STOP

  Pain in lufbar spin1t                                                                Acute
----l-1--------------·--·-···-·- ----------------~--··-··- -·----
             !
  HistorfcfI Diagnoses                                                                 ACUITY                      START               STOP

  No hlstor\c:al dlagnos~s


       --....J------- - ·- ------- -------------·-··----------
  Drug Allrrgies
  ACTIVE ALfrRGIES                                                                                    SEVERITY/R.!ACTIONS              ONSE.T
 -~--+-            - - -- - - - -- - - - - -
  No drug J11ergies recorded

             !          ··----------------
  i:ood All~rgles
  ACTIV! Ai.lER.GIES                                                                                  SEVERITY/REACTIONS               ONSET
  No food ~lergles recorded


  !nvlrontnental Allergies
  ACTIVE Al.t!RGIES                -                                        ------------------
                                                                                    SEVEIUlY/REACTIONS - - ---·-·· ··--                ONSET


hUpallst.tJc4r.i..tlce1wton.com/appl/ahrnndex.htmJ1ff/PF/cherts/pall1ntslb81!s89"5-ed01-435a•bab4-a9a82cfil5,ce/encounter/~~327c13-e13f·452c-9bdd- 1be
                                                                                                                                                  715




                                                                                                                                                        ADG_0055
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                                                       1416
                                                                                            --~-·- - -
                                                                                               Sched w/ Doctors office:

                                                                                         Name.--------
              \li                                                                        PT #:_ _ _ _ _ _ __



                  ,,
             ~~ADVANCED
             / / ~ DIAGNOSTrC GROUP
                                                                                         DOB: _ _ _ _ _ __

                                                                                         DR: - - - - - - - -
                                                                                         Study: - - - - - - - -




                9
                                                                                         Insurance·------
                                                                                               (Ask Insurance questions below)


                                                   XRAY SCREENING QUESTIONS
Patient Name:                 ;.~          /CJ O fa                                   Date:    J;,29:Zf'/1!
Patient Account #               ft? 7_%5"                                             Screening~



Have you ever had an XRAYor~ YES ~-Where?                  It ADG, Is it from the same accident or injury? _ __
What body part was scanned?         £-v.
                                   C/1 is t the same body part? If the same body part please bring prior imaging and
report for comparison.                                           /J               •    ··
                                                                                 ~ tvr'!I OY/~ C D ~ ~
Height and weight:        It,
                         'Z / ,.,,2.  ¥2)
Do you have any physical limlations T?::ight require additional assistance? YES_ NO / ' "
                                                                                        _ _ _ _ _ _ _ _ _ _ _ __
Is there a chance of pregnancy?---~_.._.....__ _



                       Auto                                       Health                                  Workers comp

Auto Insurance·   ~4'7'E' ~o:J.              Health Insurance·                        W/c company:

DOA~.J,//·~/'7                               Member#                                  DOB:                        001:

Claim#                                       Auth required?                           DR.

Attorney .   /;j!LIU~                        Copay or ded?                            Scan-
                          ~ ;
Secondary health:                            Policy holder                            Claim#

Polley holder Name and DOB
                  ( ,,1,F'
 For your appointment please wear comfortable clothing that is free of metal buttons hooks or clasp. Also do
                  not wear any hair pins/ bobby pins or piercings and limit your jewelry.

                  Please bring your driver's license/ picture ID and insurance card to your appointment




                                                                                                                                 ADG_0056
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                             D i a g n o s t ·j c
                                    Gr >up




                               RICHARD TRIOLO
                                DOB:       1974
                                 DOS: 04-04-18
                                XRAY: LUMBAR




                                                                                ADG_0058
